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UNITED STATES DISTRICT COURT

 

CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

Case No. CV_98-2817-RAP(CWx) Date: December 10, 1999
Title: United Pacific Insurance Co. V. U.S. Department of Interior
PRESENT:

THE HONORABLE RICHARD A. PAEZ, JUDGE

 

Valencia R. Vallery None Present
Courtroom Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER CONTINUING COUNTER- CLAIMANT’ S MOTION FOR

(A) INDICATION WHETHER DISTRICT COURT WILL
ENTERTAIN OR GRANT MOTION FOR RECONSIDERATION
AND (B) RECONSIDERATION OF MOTION FOR SUMMARY
JUDGMENT TO JANUARY 24, 2000 AT 9:30 A.M,

On the Court’s own motion, the above matter is ordered continued from
December 13, 1999 to January 24, 2000 at 9:30 a.m.

The clerk shall serve a copy of this minute order on all counsel of
record in this action.

 

MINUTES FORM 11 CM TERED AN IPMS Initials of Deputy Clerk

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